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11
                          IN THE UNITED STATES DISTRICT COURT
12                            FOR THE DISTRICT OF ARIZONA
13
14   Arizona Yagé Assembly; Winfield Scott Stan-
     ley III, in his capacity as Founder and Direc-
15                                                    No. 2:20-cv-2373-ROS
     tor of Arizona Yagé Assembly,
16
                                Plaintiffs,
17           v.
18
     Merrick Garland, Attorney General of the
19   United States, et al.,
20                              Defendants.
21
22      DEFENDANTS’ OPPOSITION TO MOTION TO INTERVENE [Doc. 232]
23
24
25
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2          More than four years after this case was filed, AYA member Taylor Cox seeks to inter-
 3   vene on behalf of himself and 5,239 members, donors, and email correspondents of AYA. See
 4   Mot. for Leave to Intervene, Dkt. 232. The Court should deny this unnecessary and belated
 5   request, for several reasons.
 6          First, the motion for intervention is brought on behalf of “all AYA congregants,” who
 7   are already represented by Plaintiff membership organization AYA (and the same counsel) in
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     this case, and accordingly cannot now “intervene” under Rule 24. As this Court noted in
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     responding to the petition for a writ of mandamus, “Counsel for Plaintiffs” “filed a motion to
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     intervene on behalf of the very members and congregants whose First Amendment association
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     rights Plaintiffs now seek to assert.” Dkt. 243 at 2. Intervention is available only to non-party
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     movants, not existing parties, like AYA members who are already represented by the organi-
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     zation of which they are a part.
14
            Second, Intervenors do not make the showing necessary to support either mandatory or
15
     permissive intervention. As this Court already stated “[t]here is no explanation why interven-
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     tion was necessary or would be helpful to their First Amendment association right.” Dkt. 243.
17
     Intervenors’ four-year delay in moving for intervention is fatal to their request, prejudicial to
18
19   Defendants, and inadequately explained. Intervenors attempt to justify this extreme delay by

20   claiming that their interest newly arose from this Court’s January order resolving disputes

21   about the protective order and the March Discovery Order. But that doesn’t hold water. The

22   record of this case amply demonstrates that the interests Intervenors seek to vindicate are far
23   from new and cannot excuse Intervenors’ untimely request to participate. This lawsuit has,
24   from inception, explicitly sought relief on behalf of AYA members. In any event, the interests
25   Intervenors now belatedly seek to advance are meritless. Nor can Intervenors rebut the strong
26   presumption that AYA—represented by the same counsel representing Intervenors—cannot
27   adequately protect their asserted interests. AYA has repeatedly stated that it is representing
28   and seeking relief for its members. Most recently, both parties are actively seeking a “stay” of

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 1   this Court’s Discovery Order to prevent Defendants from receiving relevant information that
 2   this Court ordered Plaintiffs to provide.
 3           In short, Intervenors do not meet any of factors for intervention as of right, and for
 4   similar reasons, cannot establish any reason to grant permissive intervention. This Court
 5   should deny the motion.
 6
                                               ARGUMENT
 7
        I.      Intervenors Meet None Of The Criteria For Intervention As Of Right.
 8
        Intervenors contend that they are entitled to intervene as of right under Rule 24(a). A
 9
     proposed intervenor bears the burden of demonstrating that he has satisfied the requirements
10
     for intervention. See Prete v. Bradbury, 438 F.3d 949, 954 (9th Cir. 2006). An applicant for
11
     intervention must show that: (1) the motion is timely; (2) the applicant has a “significantly
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     protectable” interest relating to the property or transaction which is the subject of the action;
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     (3) the applicant must be so situated that the disposition of the action may as a practical matter
14
     impair or impede its ability to protect that interest; and (4) the applicants interest must be
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     inadequately represented by the parties to the action. United States v. Aerojet General Corp., 606
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     F.3d 1142, 1148 (9th Cir. 2010). “[I]t is incumbent on the party seeking to intervene to show
17
18   that all the requirements for intervention have been met.” Cooper v. Newsom, 13 F.4th 857, 865

19   (9th Cir. 2021) (citation omitted). “Failure to satisfy any one of the requirements is fatal to

20   the application” for intervention. Perry v. Proposition 8 Official Proponents, 587 F.3d 947, 950 (9th

21   Cir. 2009). Here, Intervenors have not demonstrated that they meet any of the requirements.
22           A. Already-Represented Members are not Proper Intervenors.
             This lawsuit was brought by Arizona Yage Assembly on behalf of its members, and, in
23
24   part, seeks relief on behalf of said members. AYA has repeatedly made representations

25   throughout litigation, including as recently as Plaintiffs’ last filing, that AYA is representing

26   and seeking relief on behalf of its members. See, e.g., Dkt. No. 177 at 17 (“AYA has associa-

27   tional standing to represent the members of its congregation.”); id. at 16 (“Individual partici-
28   pation is not necessary where, as here, an association seeks prospective or declaratory relief

                                                      2
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 1   . . . .”); Dkt. No. 246 at 10 (“Plaintiffs raised their claim of First Amendment Privilege based
 2   on the associational standing of its congregation and donors.”).
 3          Here, the instant motion states that “Prospective Intervenor Plaintiffs are members of
 4   the congregation of the Arizona Yage Assembly Visionary Church,” Dkt. 232 at 1, and that
 5   “all members of the proposed class” of 5,239 are “all AYA congregants,” Dkt. 232-2 ¶ 20.1
 6   AYA members cannot now “intervene” under Rule 24(a) in their own case.
 7
            Rule 24 expressly distinguishes between “movants” and “existing parties,” and explains
 8
     that mandatory intervention is not available where “existing parties adequately represent” a
 9
     “movant’s” interest. Fed. R. Civ. P. 24(a)(2). The rule thus makes clear that intervention as
10
     of right is available only to non-party “movants,” and not “existing parties,” such as members
11
     who are already represented by the organization of which they are a part. See, e.g., United States
12
     ex rel. Eisenstein v. City of New York, 556 U.S. 928, 933–34 (2009) (holding that “intervention”
13
     is “[t]he legal procedure by which . . . a third party is allowed to become a party to the litigation”
14
     and “assume the rights and burdens attendant to full party status”). Rule 24 does not permit
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     a party to intervene in a case where it is already represented; nor does it permit double repre-
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     sentation of the same party in interest by the same attorney. Rather, mandatory intervention
17
18   under Rule 24 is limited to third parties that are distinct from existing parties to a case and does

19   not extend to “members” who are already party to a suit. See Sam Fox Pub. Co. v. United States,

20   366 U.S. 683, 691–92 (1961) (“It would indeed be strange procedure to declare, on one hand,

21   that ASCAP adequately represents the interests of the appellants and hence that this is properly
22
23          1 Despite those assertions, Intervenors state elsewhere that the 5,239 number refers to

24   “email recipients in AYA’s current email address list,” with whom AYA has communicated
     with “for religious reasons., i.e., to attend ceremony, request and receive advice, and other
25   private matters.” Dkt. 222-2 ¶ 3(a) & n.2. Thus, is it not entirely clear whether the class of
     5,239 Intervenors are all AYA members. For the purposes of opposing this motion, Defend-
26   ants construed the class of Intervenors to be those the motion expressly represented were
     Intervenors—those who are “members” of AYA, not non-AYA members, donors, or corre-
27   spondents. But as discussed infra Section I.C, if the class includes non-member donors or
     correspondents with AYA, these individuals’ interests are adequately protected by the protec-
28   tive order, and in any event, these individuals have not demonstrated that they may intervene
     as of right.
                                                       3
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 1   a class suit, and then, on the other hand, to require intervention in order to insure of this
 2   representation in fact.”). Intervenors’ motion represents not a request for intervention but
 3   for duplication and should be denied on that basis.
 4
            B. Intervenors’ Delay is Fatal to Their Request, Prejudicial to Defendants,
 5             and Inadequately Explained.

 6          Intervenors’ motion is not timely. “In determining whether a motion for intervention

 7   is timely, [courts] consider three factors: ‘(1) the stage of the proceeding at which an applicant

 8   seeks to intervene; (2) the prejudice to other parties; and (3) the reason for and length of the

 9   delay.’” League of United Latin Am. Citizens v. Wilson (“LULAC”), 131 F.3d 1297, 1302 (9th Cir.
10   1997) (quoting Orange Cnty. v. Air California, 799 F.2d 535, 537 (9th Cir. 1986)). In weighing
11   these factors “any substantial lapse of time weighs heavily against intervention.” Id. (quoting
12   United States v. State of Wash., 86 F.3d 1499, 1503 (9th Cir. 1996)). The date by which delay is
13   measured is “from the date the proposed intervenor should have been aware that its interests
14   would no longer be protected adequately by the parties.” Washington, 86 F.3d at 1503. “Time-
15   liness is ‘the threshold requirement’ for intervention as of right.” LULAC, 131 F.3d at 1302.
16   And if the Court finds that “the motion to intervene was not timely” it need not consider the
17   remaining elements. Id.
18          Here, Intervenor’s motion, filed more than four years into this litigation, is untimely.
19
     Most notably, the parties negotiated, and this Court issued, a Rule 16 Scheduling Order under
20
     which Plaintiffs agreed to amend or join additional parties no later than July 1, 2023. Dkt. 195
21
     at 193. Plaintiffs opted not to do so. Moreover, a substantial number of significant “litigation
22
     milestones” have transpired in this case, including multiple rounds of dispositive motions
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     briefing and requests for preliminary injunctive relief, and substantial completion of fact dis-
24
     covery. Lindblom v. Santander Consumer USA, Inc, 2018 WL 3219381, at *4 (E.D. Cal. June 29,
25
     2018), aff’d sub nom., 771 F. App’x 454 (9th Cir. 2019). The unique procedural history and the
26
     current posture of the case weigh strongly against a finding of timeliness.
27
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 1                  a. The stage of the proceedings favors denial.
 2          “Although the mere lapse of time, without more, is not necessarily a bar to interven-
 3   tion,” United States v. Alisal Water Corp., 370 F.3d 915, 921 (9th Cir. 2004), “any substantial
 4   lapse of time weighs heavily against intervention,” particularly where “the district court has
 5   substantively—engaged the issues in th[e] case.” LULAC, 131 F.3d at 1302-03. Intervention
 6   is disfavored when, for example, a would-be intervenor seeks to “reopen [years] of litiga-
 7
     tion.” Smith v. Los Angeles Unified Sch. Dist., 830 F.3d 843, 856 (9th Cir. 2016). Here, the “stage
 8
     of the proceedings” factor weighs “heavily against allowing intervention” because this Court
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     has “substantively—and substantially—engaged the issues in this case.” LULAC, 131 F.3d at
10
     1303. More than four years have passed in this case, and numerous litigation milestones have
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     come and gone. See id. (intervention motion filed 27 months after start of litigation “fights an
12
     uphill” in effort to intervene). During the preceding 50 months, the parties have engaged in
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     a substantial amount of motions practice and discovery, and this Court has been substantively
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     and substantially engaged in these issues.
15
            Plaintiffs filed their first Complaint seeking relief on behalf of AYA and its members
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     on May 5, 2020, Dkt. 1, and ultimately filed their operative (Fifth Amended) Complaint in
17
18   May 2022, Dkt. 159, which similarly seeks relief on behalf of its members. The parties nego-

19   tiated, and this Court rendered, a Rule 16 Scheduling Order, under which Plaintiffs were re-

20   quired to amend or join additional parties no later than July 1, 2023. Dkt. 195. Before and

21   since that deadline, the parties have engaged in a significant amount of dispositive motions
22   practice, including a motion to transfer, Dkt. 62; motions to dismiss each successive complaint,
23   Dkt. 20, 29, 85, 112, 175; three motions for preliminary injunctive relief, Dkt. 22, 33, 137; an
24   application for a writ of habeas corpus, Dkt. 125; a motion to consolidate this case with a state
25   court case, Dkt. 132; and a motion for entry of final judgment, Dkt. 157. This Court has
26   similarly expended a significant amount of time deciding these issues, rendering multiple opin-
27   ions on motions to dismiss the Complaint, including an opinion dismissing this case without
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 1   prejudice, Dkt. 153, and opinions denying Defendants’ motion to dismiss, Dkt. 183, an appli-
 2   cation for a writ of habeas corpus, Dkt. 131, the motion to consolidate, Dkt. 136, and the
 3   entry of final judgment, Dkt. 168. The parties were in engaged in settlement discussions for
 4   three months. Dkts. 163, 173. Two appeals have been taken, including Plaintiffs’ most recent
 5   unsuccessful request for mandamus relief. Dkts. 171, 230.
 6          Additionally, the parties are over a year into the discovery process, and the date for
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     substantial completion of written fact discovery expired March 8, 2024. Dkt. 207. Defendants
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     met this deadline and propounded three rounds of written fact discovery in advance of this
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     deadline, responded to Plaintiffs’ discovery requests, produced 20,000 pages of documents,
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     and have engaged expert witnesses. Defendants also expended a significant amount of time
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     negotiating the scope of discovery requests, attempting to confer on discovery disputes, op-
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     posing Plaintiffs’ repeated delays in the discovery process, and ultimately litigating the inade-
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     quacy of Plaintiffs’ responses, including four joint statements, totaling more than 150 pages.
14
     See Dkt. 202 at (joint statement on protective order); Dkt. 212 (dispute over joint statement
15
     process); Dkt. 213 (detailing breakdown in conferral process and extending discovery dead-
16
     lines); Dkt. 219 (87-page joint statement on deficiencies in first set of discovery requests); Dkt.
17
18   225 (51-page joint statement on deficiencies in second set of discovery requests); Dkt. 228

19   (opposition to extension of time to comply with Court’s discovery order). Each of these dis-

20   putes required substantial and substantive consideration from this Court, including this

21   Court’s most recent 20-page opinion on the dispute over the first set of discovery requests.
22   Dkts. 205, 218, 220, 234.
23          The Ninth Circuit, when considering whether a party is entitled to intervene at a simi-
24   larly belated stage of the proceedings, reasonably concluded that the timing “weigh[ed] heavily
25   against” allowing intervention. LULAC, 131 F.3d at 1303. Much like in this case, in LULAC,
26   the Ninth Circuit agreed that “the district court and the original parties had covered a lot of
27   legal ground together” in a case that involved multiple complaints, a temporary restraining
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 1   order, a preliminary junction, the denial of a motion to dismiss, and discovery that had pro-
 2   ceeded for nine months. Id.
 3          Numerous courts have similarly concluded that the advanced stage of the proceedings
 4   favored denying intervention. See U.S. Sec. & Exch. Comm’n v. Beasley, 2024 WL 1133587, at
 5   *1 (9th Cir. Mar. 15, 2024) (affirming denial of intervention where party waited four months
 6   and “the stage of proceedings had progressed substantially”); U.S. Equal Emp. Opportunity
 7
     Comm’n v. Bay Club Fairbanks Ranch, LLC, 2021 WL 1056590, at *6 (S.D. Cal. Mar. 19, 2021)
 8
     (parties had “vigorously litigated the matter,” for more than two years including motions to
 9
     dismiss, and “expended significant resources” resolving discovery disputes); Hernandez v. Penn-
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     sylvania Tool Sales & Serv., Inc., 2020 WL 7181067, at *2 (S.D. Cal. Dec. 7, 2020) (three-year old
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     case involving “extensive discovery” including “initial disclosures, supplemental disclosures
12
     and written discovery”); Lindblom, 2018 WL 3219381, at *4 (numerous “litigation milestones”
13
     had passed including motions to dismiss, a motion for judgment on the pleadings, mediation,
14
     and where “the parties conducted discovery for a full year”). The Intervenors make no argu-
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     ment to the contrary. Indeed, their motion does not include any discussion of the stage-of-
16
     the proceedings inquiry.
17
18                  b. Defendants would be prejudiced.

19          Prejudice to existing parties is “the most important consideration in deciding whether

20   a motion for intervention is untimely.” Smith, 830 F.3d at 857. The Court considers the

21   prejudice “from a prospective intervenor’s failure to intervene after he knew, or reasonably
22   should have known, that his interests were not being adequately represented.” Id.
23          Defendants would suffer substantial prejudice if intervention were granted at this late
24   date. Cox’s motion to intervene on behalf of a class of more than 5,000 individuals would
25   “require a ‘do-over’ of almost the entire litigation,” and would wholly “derail this case from
26   its current track to trial.” Lindblom, 2018 WL 3219381, at *4. Defendants would be forced to
27   expend significant resources to relitigate threshold issues. Not only would it wholly disrupt
28   already-delayed litigation, but it would also expand the scope of this case significantly. It

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 1   would, for example, require briefing and this Court’s resolution of the adequacy of Interve-
 2   nors’ Complaint for class-wide relief when the members are already represented in this litiga-
 3   tion, including potentially a motion to dismiss the Complaint because Intervenor members
 4   cannot state a claim that an organization’s compliance with this Court’s Discovery Order
 5   would violate RFRA and would violate members’ First, Fourth, and Fifth Amendment rights.
 6   See infra at I.C. Defendants would have to litigate the permissibility of Intervenors’ requests
 7
     for injunctive relief and interim requests to “stay” this case and seek an additional protective
 8
     order. Dkt. 232-2 at 14-15 ¶ 57. Finally, Defendants would also be required to litigate class
 9
     certification.
10
             Additionally, Defendants would be prejudiced by the injection of class-wide relief four
11
     years into this lawsuit and the inefficiency of restarting what would become an even more
12
     burdensome discovery process of a purported class of over 5,000 individuals. See LULAC,
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     131 F.3d at 1304 (prejudice where intervenor would be “filing motions and conducting dis-
14
     covery”); Washington, 86 F.3d at 1504 (no abuse of discretion in finding prejudice where “in-
15
     tervention would complicate the issues and prolong litigation”). While Defendants have com-
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     plied with their discovery obligations, Plaintiffs have not. And, as the motion to intervene
17
18   shows, Plaintiffs do not intend to produce documents or comply with the Court’s Discovery

19   Order. To put it plainly, Plaintiffs have now been sitting on a trove of Defendants’ discovery

20   materials for more than six months, able to review and mine those materials, while Defendants

21   have received almost no documents from Plaintiffs or otherwise received revised responses to
22   Defendants’ interrogatories. Granting intervention would only further perpetuate the inequity
23   of the one-sided nature of discovery thus far in this case.
24           Were the Court to grant Intervenors’ motion, the Court would have to issue a new
25   scheduling order, reopen discovery, and Defendants would have to spend significant addi-
26   tional resources to conduct discovery for a class purporting to represent more than 5,000
27   members and litigate disputes inevitably arising out of such discovery. Not only would this
28   restart an already burdensome discovery process and be highly prejudicial to Defendants, but

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 1   Intervenors are attempting to relitigate settled issues that consumed both time and resources
 2   to resolve through the joint statement process. It would be highly prejudicial to Defendants
 3   to allow Intervenors to relitigate issues already (unsuccessfully) raised repeatedly by their coun-
 4   sel in the joint statement process. See Center for Investigative Reporting v. U.S. Dep’t of Labor, No.
 5   4:19-cv-01843, 2020 WL 554001, at *2 (N.D. Cal. Feb. 4, 2020) (“The Court is inclined to
 6   deny the motion insofar as it seeks intervention to relitigate or reconsider matters decided.”);
 7
     EEOC v. Georgia-Pacific Corrugated LLC, No. 07-cv-3944, 2008 WL 11388687, at *7 (N.D. Cal.
 8
     Apr. 9, 2008) (“Prejudice’ in the context of a motion to intervene may exist where intervention
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     would raise new issues, re-open decided issues, unnecessarily prolong litigation, threaten set-
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     tlement, or delay remedies.”). Intervenors have requested the entry of a new protective or-
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     der—despite the fact that one already exists—which the parties and Intervenors’ own counsel ne-
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     gotiated over the course of 5 months, Dkt. 205 at 7 (detailing extended conferral), and which
13
     was ultimately resolved by this Court in Defendants’ favor when the parties reached an im-
14
     passe. Dkt. 210. And although Intervenors are now unhappy with the content of that pro-
15
     tective order, they are represented by the same counsel who negotiated the operative protective
16
     order on behalf of Plaintiffs. It is both highly inequitable and unusual that Intervenors now
17
18   seek to relitigate the same issues through the same counsel. Intervenors should not be allowed

19   to misuse the intervention process to essentially receive a do-over of this Court’s decisions.

20   Beasley, 2024 WL 1133587, at *1 (finding prejudice where Intervenor could have moved sooner

21   to allow court to consider “objections” and legal “theory” before “expend[ing] substantial time
22   and resources”).
23                  c. Intervenors have not adequately explained their reason for delay.
24          An Intervenor must “adequately explain” the “reason for its delay.” LULAC, 131 F.3d
25   at 1304. “Even a lengthy delay, however, ‘is not as damaging as a failure to adequately explain
26   the reason for the delay.’” Lee v. Pep Boys-Manny Moe & Jack of California, No. 12-CV-05064-
27   JSC, 2016 WL 324015, at *7 (N.D. Cal. Jan. 27, 2016). The date by which delay is measured
28   is “from the date the proposed intervenor should have been aware that its interests would no

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 1   longer be protected adequately by the parties.” Washington, 86 F.3d at 1503. Here, Intervenors
 2   face an uphill battle, as they have both a lengthy delay and fail to adequately explain that delay.
 3   See LULAC, 131 F.3d at 1302-03; (intervention motion filed 27 months after start of litigation
 4   “fights an uphill battle” in effort to intervene).
 5          Intervenors’ argument about delay is a single, conclusory sentence stating that they
 6   “have not delayed” in seeking the right to intervene because their “religious rights have been–
 7
     and continue to be—under attack from the Defendants.” Dkt. 232-1 at 16. That of course,
 8
     is not an explanation of delay but rather a statement about the perceived need to intervene.
 9
     Stating that their religious rights “have been” under attack implies that Intervenors are simply
10
     seeing to vindicate the same “religious rights” that have been asserted since the First Com-
11
     plaint filed in May 2020.
12
            The argument is also baseless. Defendants are not “attacking” the religious rights of
13
     participants in AYA activities. Rather, they are conducting ordinary discovery into matters
14
     directly relevant to claims AYA brought on behalf of its members, claiming they have a right under
15
     RFRA to be exempted from the Controlled Substances Act. Nothing about any interests
16
     Intervenors have vis-à-vis this litigation has changed since the Court issued orders on the pro-
17
18   tective order and discovery. From its inception, this lawsuit has explicitly been premised on

19   seeking relief on behalf of AYA members. Thus, intervenors should have known from the

20   outset that their “religious rights,” Dkt. 232-1 at 16, would be at issue in, and affected by, the

21   outcome of this litigation.
22          The record amply disproves any claim that these issues are somehow “new.” AYA’s
23   First Complaint filed on May 5, 2020, stated that AYA “asserts the Fifth Amendment rights
24   of its members on their behalf,” and alleged that “Fifth Amendment rights” of “individual
25   congregants” were “at risk.” Dkt. 1 at 32 ¶ 111; see also Third Amended Complaint, Dkt. 77
26   at 39 ¶ 119 (identical assertion); Fifth Amended Complaint, Dkt. 159 at 29 (discussing the
27   harm of “disclosure of the identity” of “two AYA members”). Intervenors likewise should
28   have been informed as of August 2021 (when Defendants were litigating a motion to dismiss

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 1   the Fourth Amended Complaint) that Defendants disputed that Plaintiffs could “state a valid
 2   claim for a violation of a Fifth Amendment right against self-incrimination.” Dkt. 122. Inter-
 3   venors cannot feign surprise at a position that Defendants have repeatedly advanced for the
 4   last 3 years. Thus, the record fundamentally belies Intervenors’ claim that they “could not
 5   have anticipated that Federal Defendants would seek to weaponize the discovery process,”
 6   and that “once it became clear that Federal Defendants would not withdraw their demand for
 7
     the names of all of AYA’s members” they moved to “join” this litigation. Id. at 16. Again,
 8
     seeking relevant information is not “weaponizing” the discovery process. In any event, Inter-
 9
     venors should have been aware from the inception of this litigation of the interests they have
10
     been seeking to vindicate and only now seek to reassert through their belated attempt to “in-
11
     tervene.”
12
            Even if this Court believes that May 2020 is not the starting point for measuring delay,
13
     AYA was aware far earlier than January 2024 that Defendants intended to seek information
14
     about those who attend AYA ceremonies. Defendants circulated a draft protective order in
15
     July 2023, which in part was designed precisely to protect the privacy of both parties and non-
16
     parties alike. See Dkt. 205 at 7. Counsel for AYA (and now for the proposed Intervenors),
17
18   circulated a letter on July 19, 2023, raising concerns about congregant information being used

19   for investigative or enforcement purposes. See Exhibit A. The disputed discovery requests

20   were served on September 1, 2023, and Plaintiffs objected on October 17, 2023, that Defend-

21   ants discovery requests violated the First and “Fifth Amendment rights of AYA’s congrega-
22   tion.” See, e.g., Dkt. 213-5 at 8. Against that backdrop, it strains credulity to assert that these
23   were interests that “newly” arose when this Court issued its order on the protective order in
24   January 2024. Nor do Intervenors adequately explain why they waited 8 months after discov-
25   ery requests were served and after the substantial completion of written fact discovery deadline
26   had passed to move to intervene.
27
28

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 1           C. Intervenors have not articulated a protectable interest.
 2           To intervene as of right, a party “must establish” that it has an interest that “is protect-
 3   able under some law and that there is a relationship between the legally protected interest and
 4   the claims at issue.” Citizens for Balanced Use v. Montana Wilderness Ass’n, 647 F.3d 893, 897 (9th
 5   Cir. 2011). While Intervenors cite constitutional protections, they fail to articulate with any
 6   specificity a single legally protectable interest at stake. All four “interests” Intervenors advance
 7   are meritless, and Intervenors do not bother to address this Court’s order already holding that
 8   these objections are meritless. Dkts. 210, 220.
 9           First, Intervenors’ assertions that “Defendants want to expose Intervenor Plaintiffs in
10   order to impose substantial burdens and deter people from associating with AYA and engaging
11   in Free Exercise,” Dkt. 232-1 at 17, is entirely frivolous and unsupported. As articulated many
12   times, Defendants can and do accommodate sincere adherents’ religious use of ayahuasca.
13   Plaintiffs elected to initiate this lawsuit seeking a government benefit for a purported religious
14   exercise. It is not credible to assert that when the government engages in the usual civil dis-
15   covery process to elicit information directly relevant and necessary to proving that claim at
16   summary judgment or at trial, that Intervenors may then distort what is an obvious effect of
17   civil litigation as targeting their religious exercise.
18           Second, Intervenors do not have any protectable Fourth Amendment interests in this
19   civil suit. Despite this Court’s conclusion that this objection is “frivolous,” and “has no bear-
20   ing on this case,” Dkt. 220 at 3, Intervenors again assert it here without bothering to address
21   this Court’s rationale. Defendants are not “using the civil discovery process as a governmental
22   warrantless search.” Dkt. 232-1 at 17. Plaintiffs brought this civil action, not Defendants. Not
23   only do Interveners fail to articulate what this alleged “search” is, but “[i]t strains common
24   sense and constitutional analysis to conclude that the fourth amendment was meant to protect
25   against unreasonable discovery demands made by a private litigant in the course of civil litiga-
26   tion.” United States v. Int’l Bus. Machines Corp., 83 F.R.D. 97, 102 (S.D.N.Y. 1979).
27           Third, Intervenors’ Fifth Amendment objections are meritless because Defendants
28   have not asked Intervenors to provide their “own compelled testimonial communications.”

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 1   United States v. Doe, 465 U.S. 605, 611 (1984). Because it is “well established that ‘the official
 2   records and documents’ of an organization ‘cannot be the subject of the personal privilege
 3   against self-incrimination,’” Dkt. 210 at 2 (quoting United States v. White, 322 U.S. 694, 699
 4   (1944)), Intervenor members cannot assert a Fifth Amendment privilege over AYA’s docu-
 5   ments in AYA’s custody.
 6          Fourth, that Intervenors did not stipulate to the Protective Order does not give rise to
 7   a legally cognizable interest, and Intervenors provide no basis for such an assertion. Regard-
 8   less, the Protective Order was entered into by AYA on behalf of AYA members through the
 9   same counsel now representing Intervenors.
10          Fifth, the intervention motion purports to be brought on behalf of AYA members.
11   Dkt. 232-2 ¶ 20. But the scope of the putative class of intervenors is both inconsistent and
12   unclear. Cf. n.1, supra. Setting the already-represented members to one side, to the extent that
13   third-party non-member donors or email-correspondents are seeking to intervene in this case,
14   Intervenors have not established that these individuals have a legally protectable interest suf-
15   ficient to allow them to intervene as of right. Non-member email correspondents or donors
16   neither appear to assert, nor could they validly bring, RFRA claims arising from a sincere
17   religious exercise burdened by the strictures of the Controlled Substances Act.        If AYA is
18   actually asserting that any person who sends an email to AYA is considered a “member” of
19   AYA, that further undermines their assertion of a sincere religious exercise. See Dkt. 248 at 8-
20   11. Intervenors make no allegations that these non-members are seeking to vindicate a sincere
21   religious belief in consuming ayahuasca, as would be necessary to state a RFRA claim. Finally,
22   as to third parties whose interests may be implicated by the underlying dispute, their rights can
23   be protected through the use of the Protective Order which exists in part to protect the privacy
24   rights of individuals not before the court. Dkt. 248 at 9-10 (discussing protective order).
25          D. Intervenors failed to rebut the presumption of adequate representation.
26          AYA members are also fully and adequately represented by the plaintiff organization
27   to which they belong. “In evaluating adequacy of representation, we examine three factors:
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 1   ‘(1) whether the interest of a present party is such that it will undoubtedly make all of a pro-
 2   posed intervenor’s arguments; (2) whether the present party is capable and willing to make
 3   such arguments; and (3) whether a proposed intervenor would offer any necessary elements
 4   to the proceeding that other parties would neglect.’” Arakaki v. Cayetano, 324 F.3d 1078, 1086
 5   (9th Cir. 2003). “The ‘most important factor’ in assessing the adequacy of representation is
 6   ‘how the interest compares with the interests of existing parties.’” Id. “Where the party and
 7   the proposed intervenor share the same ‘ultimate objective,’ a presumption of adequacy of
 8   representation applies.” Freedom from Religion Found., Inc. v. Geithner, 644 F.3d 836, 841 (9th Cir.
 9   2011) (quoting Perry, 587 F.3d at 951). Such presumption can be rebutted only by “a compel-
10   ling showing to the contrary.” Id.
11          Intervenors have not even attempted to meet their burden in overcoming the strong
12   presumption of adequacy. Here, both the Intervenors’ objective (and the relief sought) is the
13   same as Plaintiffs—to “stay” the Discovery Order and prevent Defendants from receiving
14   relevant information that this Court ordered Plaintiffs to provide. See Dkt. 232-1 at 6.
15          Moreover, Intervenors’ claim that AYA cannot adequately represent their interests is
16   belied by the characterizations AYA has repeatedly made throughout litigation, including as
17   recently as Plaintiffs’ last filing, that AYA is representing and seeking relief on behalf of its
18   members. See, e.g., Pls. Opp. to Defs. Mot. to Dismiss at 17, Dkt. No. 177 (“AYA has associ-
19   ational standing to represent the members of its congregation.”); id. at 16 (“Individual partic-
20   ipation is not necessary where, as here, an association seeks prospective or declaratory relief
21   . . . .”); Pls. Mot. for Stay at 10, Dkt. No. 246 (“Plaintiffs raised their claim of First Amendment
22   Privilege based on the associational standing of its congregation and donors.”). Based on the
23   record before the Court, Plaintiffs have “demonstrated they are capable and willing to make
24   all of [the member’s] arguments.” Arakaki, 324 F.3d at 1087; see also Burwell, Burwell v. Hobby
25   Lobby Stores, Inc., 573 U.S. 682, 683-84 (2014) (“[T]he purpose of extending rights to [organi-
26   zations] is to protect the rights of the people associated with the [organization.]”). Intervenors
27   do not argue that Plaintiffs are not willing to make arguments on their behalf. Indeed, Plain-
28   tiffs have asserted the exact arguments Intervenors now seek to raise. Dkt. 219 at 6 (asserting

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 1   First and Fourth Amendment rights of members); Dkt. 205 at 4 (Fifth Amendment right).
 2   Plaintiffs have gone so far as to say it is their “pastoral duty” to “defend the Free Exercise
 3   rights of AYA members.” See, e.g., Fifth Am. Compl. at ¶ 21, Dkt. No. 159. Where, like here,
 4   Intervenors are the “exact [members that Plaintiff] is seeking to protect in this action,” Inter-
 5   venors cannot overcome the presumption of adequacy. Cf. United States v. City of Los Angeles,
 6   288 F.3d 391, 402 (9th Cir. 2002).
 7          Moreover, the Ninth Circuit has indicated that a potential intervenor fails to show that
 8   its interests are inadequately represented where, as is the case here, the same counsel represents
 9   both the potential intervenor and an existing party. See In re Weingarten, 492 F. App’x 754, 756
10   (9th Cir.2012) (unpublished) (“[T]he [intervenors] are represented by the same counsel as [an
11   existing party], indicating that he is ‘capable and willing to make’ the same arguments that the
12   [intervenors] would make if they were permitted to intervene.” (quoting City of Los Angeles, 288
13   F.3d at 398)). Other courts have similarly found that adequate representation can be presumed
14   where the same counsel represents both the intervenor and an existing party. See, e.g., Union
15   Cent. Life Ins. Co. v. Hamilton Steel Prod. Inc., 374 F.2d 820, 823 (7th Cir. 1967) (“Inadequate
16   representation can hardly be claimed where the same attorneys represent the Union’s class
17   representatives and the proposed intervenor.”); Guetzko v. KeyBank Nat’l Ass’n, No. 08-cv-
18   2067, 2009 WL 482130, at *4 (N.D. Iowa Feb. 25, 2009) (“Inadequate representation can
19   hardly be claimed as the same attorney represents both the original plaintiffs and the proposed
20   intervenors.” (quoting Carroll v. Am. Fed’n of Musicians, 33 F.R.D. 353, 353 (S.D.N.Y 1963))).
21          Intervenors’ sole argument that it is not adequately represented is that the Court deter-
22   mined “Plaintiff AYA may not assert the Fifth Amendment on behalf of its members in re-
23   sponding to Defendants’ discovery requests.” Dkt. 210 at 2; Dkt. 232-1 at 18. But interven-
24   tion wouldn’t change that. The Fifth Amendment “does not independently proscribe the
25   compelled production of every sort of incriminating evidence.” Fisher v. United States, 425 U.S.
26   391, 408 (1976). Instead, the privilege “protects a person only against being incriminated by
27   his own compelled testimonial communications.” Doe, 465 U.S. at 611; see also Chavez v. Mar-
28   tinez, 538 U.S. 760, 770 (2003) (plurality opinion) (“Although our cases have permitted the

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 1   Fifth Amendment’s self-incrimination privilege to be asserted in noncriminal cases. . .that does
 2   not alter our conclusion that a violation of the constitutional right against self-incrimination
 3   occurs only if one has been compelled to be a witness against himself in a criminal case.”).
 4   Defendants have not requested or subpoenaed information from any AYA congregants or
 5   Intervenors; they have requested only information from AYA and in AYA’s records. See Dkt.
 6   No. 219. As this Court has already recognized, Albertson v. Subversive Activities Control Bd., 382
 7   U.S. 70 (1965), is inapplicable in a civil lawsuit brought by an organization. Dkt. 210. It is
 8   well established that “the official records and documents” of an organization “cannot be the
 9   subject of the personal privilege against self-incrimination.” Dkt. 210 at 2 (quoting White, 322
10   U.S. at 699). Because Intervenors could not assert a Fifth Amendment Privilege over AYA’s
11   documents any more than AYA could, cf. Doe, 465 U.S. at 610-12, Intervenors fail to overcome
12   the presumption of adequate representation.
13   II.    The Motion to Intervene Should be Denied Because AYA Members Do Not
            Qualify for Permissive Intervention.
14
            Intervenors move in the alternative for permissive intervention under Rule 24(b). To
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     intervene under this rule, intervenors must make three showings: (1) it shares a common ques-
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     tion of law or fact with the main action; (2) its motion is timely; and (3) the court has an
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     independent basis for jurisdiction over the applicant’s claims. Cooper, 13 F.4th at 868. “Even
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     if an applicant satisfies those threshold requirements, the district court has discretion to deny
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     permissive intervention.” Id. “In exercising its discretion, the district court must consider
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     whether intervention will unduly delay the main action or will unfairly prejudice the existing
21
     parties.” Id.
22
            Intervenors’ arguments are derivative of their quest for intervention as of right and are
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24   equally unpersuasive. Permissive intervention can be only granted where an application is

25   timely, Fed. R. Civ. P. 24(b)(1)(B), and “courts analyze timeliness more stringently” for per-

26   missive intervention. Roman Cath. Bishop of Monterrey v. Cota, No. 15-cv-8065-JFW, 2016 WL

27   320741, at *6 (C.D. Cal. Jan. 8, 2016); As demonstrated supra Section I.B, Intervenors failed
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 1   to show that their application is timely. See Washington, 86 F.3d at 1507 (“A finding of untime-
 2   liness defeats a motion for permissive intervention.). Because Intervenors have failed to
 3   demonstrate that their application is timely under the more lenient standard for mandatory
 4   intervention, id., their request for permissive intervention is likewise untimely. For similar
 5   reasons, Intervenors have not shown that the existing parties to this lawsuit will not be preju-
 6   diced by intervention at this stage. See supra Section I.B.b.
 7
            Even if Intervenors were able to meet the requirements of Rule 24(b), the Court should
 8
     nonetheless exercise its discretion to deny permissive intervention here. “Increasing the num-
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     ber of parties to a suit can make the suit unwieldy,” Solid Waste Agency of Northern Cook Cty. v.
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     U.S. Army Corps of Eng’rs, 101 F.3d 503, 508 (7th Cir. 1996), particularly here, where there are
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     already numerous unorthodox filings from Plaintiffs. The Ninth Circuit, for example, previ-
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     ously concluded that a court did not abuse its discretion when it “decided that 13 additional
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     plaintiffs would unnecessarily delay and complicate the case.” Montgomery v. Rumsfeld, 572 F.2d
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     250, 255 (9th Cir. 1978); see also Stringfellow v. Concerned Neighbors in Action, 480 U.S. 370, 380
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     (1987) (“Particularly in a complex case such as this, a district judge’s decision on how best to
16
     balance the rights of the parties against the need to keep the litigation from becoming unman-
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18   ageable is entitled to great deference.”). The proposed intervention would do nothing to assist

19   the Court in reaching a decision on the legal issue presented in this action, where the Interve-

20   nors’ interests are already represented.

21                                          CONCLUSION

22          For the foregoing reasons, the Court should deny the motion to intervene.

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 1   Dated: October 4, 2024                             Respectfully submitted,
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15                                 CERTIFICATE OF SERVICE

16          I hereby certify that I electronically transmitted the foregoing to the Clerk’s Office

17   using the CM/ECF System for filing and transmittal of a Notice of Electronic Filing to the

18   CM/ECF registrants for this matter.

19
                                                        /s/ Lisa Newman
20                                                      LISA NEWMAN
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